                19-11811-dsj                Doc 1          Filed 06/03/19 Entered 06/03/19 06:57:52                                       Main Document
                                                                         Pg 1 of 20
 Fill in this information to identify the case

 United States Bankruptcy Court for the

 Southern                     District of     New York
                                             (State)
 Case number (If known):                                            Chapter 11

                                                                                                                                                         ☐ Check if this is
                                                                                                                                                         an amended filing

  Official Form 201
  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                          04/19
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


    1.   Debtor’s name                                 Fusion Connect, Inc.


    2.   All other names debtor used                   Fusion
         in the last 8 years                           Fusion Connect
         Include any assumed names, trade
                                                       Fusion Telecommunications International, Inc.
         names, and doing business as
         names



    3.   Debtor’s federal Employer
         Identification Number (EIN)               XX-XXXXXXX


    4.   Debtor’s        Principal place of business                                                            Mailing address, if different from principal place of
         address                                                                                                business


                         420                           Lexington Avenue
                         Number                        Street                                                   Number                      Street


                         Suite 1718
                                                                                                                P.O. Box


                         New York                      New York            10170
                         City                          State               ZIP Code                             City                        State          ZIP Code

                                                                                                                Location of principal assets, if different from principal
                                                                                                                place of business
                         New York County
                         County
                                                                                                                Number                      Street




                                                                                                                City                        State          ZIP Code



    5.   Debtor’s website (URL)                        www.fusionconnect.com


    6.   Type of debtor                            ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ☐ Partnership (excluding LLP)
                                                   ☐ Other. Specify:



 Official Form 201                                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 1

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 Debtor
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                                                                              Case number (if known)
                                                                                                                           Main Document
                Fusion Connect, Inc.
                Name                                             Pg 2 of 20

                                           A. Check one:
 7.   Describe debtor’s business
                                           ☐    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ☐    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           ☐    Railroad (as defined in 11 U.S.C. § 101(44))
                                           ☐    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ☐    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           ☐    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ☒    None of the above Wired Telecommunications Carriers


                                           B. Check all that apply:
                                           ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5171


                                           Check one:
 8.   Under which chapter of the
      Bankruptcy Code is the               ☐ Chapter 7
      debtor filing?                       ☐ Chapter 9
                                           ☒ Chapter 11. Check all that apply:
                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment
                                                               on 4/01/22 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or
                                                               if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                           ☐ Chapter 12


 9.   Were prior bankruptcy cases          ☒ No
      filed by or against the debtor
                                           ☐ Yes         District                       When                          Case number
      within the last 8 years?
      If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
      separate list.
                                                         District                       When                          Case number

                                                                                                      MM / DD/ YYYY

 10. Are any bankruptcy cases              ☐ No
     pending or being filed by a
     business partner or an                ☒ Yes         Debtor         See Schedule 1                                Relationship   See Schedule 1
     affiliate of the debtor?                            District       Southern District of New York                 When           See Schedule 1
      List all cases. If more than 1,
                                                         Case number, if known                                                       MM / DD/ YYYY
      attach a separate list.




 Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      Page 2

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 Debtor
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                                                                             Case number (if known)
                                                                                                                                      Main Document
                Fusion Connect, Inc.
                Name                                            Pg 3 of 20

    11. Why is the case filed in this        Check all that apply:
        district?
                                             ☒     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                             ☐     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                             ☒ No
     possession of any real
     property or personal property           ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
     attention?                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                             health or safety.
                                                             What is the hazard?
                                                        ☐    It needs to be physically secured or protected from the weather.
                                                        ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                             without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                             securities-related assets or other options).

                                                        ☐ Other


                                                        Where is the property?
                                                                                            Number                   Street


                                                                                            City                              State                 ZIP Code
                                                       Is the property insured?
                                                                                          ☐ No
                                                                                         ☐ Yes. Insurance agency
                                                                                                   Contact Name
                                                                                                   Phone




                 Statistical and administrative information



    13. Debtor’s estimation of           Check one:
        available funds                  ☒     Funds will be available for distribution to unsecured creditors.
                                         ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of              
                                         ☐     1-49                                     ☐     1,000-5,000                             ☐   25,001-50,000
        creditors                        ☐     50-99                                    ☐     5,001-10,000                            ☐   50,001-100,000
          (on a consolidated basis)      ☐     100-199                                  ☒     10,001-25,000                           ☐   More than 100,000
                                         ☐     200-999

    15. Estimated assets                 ☐     $0-$50,000                               ☐     $1,000,001-$10 million                  ☒   $500,000,001-$1 billion
          (on a consolidated basis)      ☐     $50,001-$100,000                         ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                         ☐     $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                        ☐     $50,000,001-$100 million
                                         ☐     $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                        ☐     $100,000,001-$500 million

    16. Estimated liabilities            ☐     $0-$50,000                               ☐     $1,000,001-$10 million                  ☒   $500,000,001-$1 billion
          (on a consolidated basis)      ☐     $50,001-$100,000                         ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                         ☐     $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                        ☐     $50,000,001-$100 million
                                         ☐     $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                        ☐     $100,000,001-$500 million



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                Fusion Connect, Inc.
                Name                                             Pg 4 of 20

                 Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
          authorized representative of                this petition.
          debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                      true and correct.
                                                      I declare under penalty of perjury that the foregoing is true and correct.

                                                          Executed on June 3, 2019
                                                                         MM/ DD /YYYY



                                                          /s/ Keith Soldan                                           Keith Soldan
                                                          Signature of authorized representative of                  Printed name
                                                           debtor

                                                          Chief Financial Officer and Principal Accounting Officer
                                                          Title




      18. Signature of attorney                       /s/ Sunny Singh                                                Date    June 3, 2019
                                                     Signature of attorney for debtor                                       MM / DD / YYYY

                                                     Sunny Singh
                                                       Printed Name
                                              
                                                     Weil, Gotshal & Manges LLP
                                                       Firm Name
                                              
                                                     767 Fifth Avenue
                                                       Number               Street
                                              
                                                     New York                                            New York                     10153
                                                       City                                                State                        ZIP Code
                                              

                                                     (212) 310 – 8000                                    sunny.singh@weil.com
                                                       Contact phone                                       Email address
                                              

                                                     4456349                                             New York
                                                       Bar Number                                          State
                                              




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :                    Chapter 11
                                                               :
FUSION CONNECT, INC.                                           :                    Case No. 19-[_____] (___)
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                                   Attachment to Voluntary Petition for
                          Non-Individuals Filing for Bankruptcy under Chapter 11

        1.           If any of the debtor’s securities are registered under Section 12 of the
Securities Exchange Act of 1934, the SEC file number is 001-32421.

        2.             The following financial data is the latest available information and refers
to the debtor’s condition on April 30, 2019.
          a.    Total assets                                                           $570,432,338
          b.    Total debts (including debts listed in 2.c., below)                    $760,720,713
          c.    Debt securities held by more than 500 holders

                                                                                                         Approximate
                                                                                                         number of holder

                     secured         unsecured             subordinated                   $
                     secured         unsecured             subordinated                   $
                     secured         unsecured             subordinated                   $
                     secured         unsecured             subordinated                   $

           d.    Number of shares of preferred stock                                                     15,000
           e.    Number of shares common stock                                                           81,967,263


          Comments, if any:
          ______________________________________________________________________________________
          _____________________________________________________________________________________
         3.        Brief description of debtor’s business: Fusion Connect, Inc. is a provider of integrated cloud
solutions, including cloud communications, cloud connectivity, cloud computing, and business services to small,
medium and large businesses.

        4.       List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor:
                      BCHI Holdings LLC (60.7%) and Cede & Co (26.1%)




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                                                 Schedule 1

                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                  On the date hereof, each of the affiliated entities listed below, including the debtor
  in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
  States Code in the United States Bankruptcy Court for the Southern District of New York (the
  “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the entities
  listed below be consolidated for procedural purposes only and jointly administered pursuant to
  Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to
  the chapter 11 case of Fusion Connect, Inc.

                  COMPANY                        CASE             DATE FILED          DISTRICT JUDGE
                                                NUMBER

Fusion Connect, Inc.                           19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Telecom of Texas Ltd., L.L.P.           19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Communications, LLC                     19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion PM Holdings, Inc.                       19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Management Services LLC                 19-______( )         June 3, 2019        S.D.N.Y.     Pending
Bircan Holdings, LLC                           19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Telecom of Missouri, LLC                19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Telecom of Oklahoma, LLC                19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Telecom of Kansas, LLC                  19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Texas Holdings, Inc.                    19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Telecom, LLC                            19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion CB Holdings, Inc.                       19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Cloud Services, LLC                     19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion BCHI Acquisition LLC                    19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion LLC                                     19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion NBS Acquisition Corp.                   19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion Cloud Company LLC                       19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion MPHC Group, Inc.                        19-______( )         June 3, 2019        S.D.N.Y.     Pending
Fusion MPHC Holding Corporation                19-______( )         June 3, 2019        S.D.N.Y.     Pending




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                                      RESOLUTIONS OF THE
                              OF THE RESTRUCTURING COMMITTEE OF
                                   THE BOARD OF DIRECTORS OF
                                      FUSION CONNECT, INC.

                                             June 2, 2019


                WHEREAS, Fusion Connect, Inc. (the “Company”), with the assistance of
financial and legal advisors, has been conducting a review to consider and evaluate various
strategic alternatives, including but not limited to, the sale or divestiture of all or substantially all
of the Company’s assets, a filing of petitions by the Company and certain of its subsidiaries seeking
relief under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”), other restructuring transactions or transactions otherwise designed to address the
Company’s current liquidity constraints that may be available to the Company and its subsidiaries
(each such strategic alternative, a “Transaction”);

               WHEREAS, the Restructuring Committee (the “Committee”) of the Board of
Directors (the “Board”) of the Company previously approved the form, terms, and provisions of,
and the execution, delivery, and performance of, a restructuring support agreement (the “RSA”)
with an ad hoc group of lenders under the First Lien Credit and Guaranty Agreement, dated as of
May 4, 2018 (as amended, supplemented or otherwise modified, the “Credit Agreement”),
holding in excess of 66 2/3% of the aggregate principal amount of the Loans (as defined in the
Credit Agreement);

               WHEREAS, the Committee has met on various occasions to review and has had
the opportunity to ask questions about the materials presented by the management and the legal
and financial advisors of the Company regarding the liabilities and liquidity of the Company, the
various Transactions available to it and the impact of the foregoing on the Company’s business;
and

               WHEREAS, in connection therewith, the Committee desires to approve the
following resolutions.

                    NOW, THEREFORE, BE IT HEREBY

    I.      Commencement of Chapter 11 Cases

                 RESOLVED, that, the Committee has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company to approve and authorize the filing of petitions by the Company and
certain of its subsidiaries, seeking relief under the provisions of chapter 11 of the Bankruptcy Code
in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”); and be it further

                RESOLVED, that any officer of the Company (each, an “Authorized Officer”),
in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed
to execute and file in the name and on behalf of the Company all petitions, schedules, motions,



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lists, applications, pleadings, and other papers in the Bankruptcy Court, and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors,
investment bankers and other professionals, and to take and perform any and all further acts and
deeds which such Authorized Officer deems necessary, proper, or desirable in connection with the
chapter 11 cases (the “Chapter 11 Cases”), including, without limitation, negotiating, executing,
delivering and performing any and all documents, agreements, certificates and instruments in
connection with the transactions and professional retentions set forth in these resolutions, with a
view to the successful prosecution of the Chapter 11 Cases; and be it further

   II.      Debtor-in-Possession Financing

               RESOLVED, that in connection with each Chapter 11 Case, it is in the best interest
of the Company and certain of its subsidiaries to engage in, and the Company and its subsidiaries
will obtain benefits from, the lending transactions, under that certain superpriority secured debtor-
in-possession credit facility (the “Debtor-in-Possession Financing”) in an aggregate principal
amount of approximately $59.5 million, consisting of (i) $39.5 million in aggregate principal
amount of new money term loans and (ii) $20 million in aggregate principal amount of roll-up
term loans representing the roll-up, on a dollar-for-dollar basis, of all of the outstanding principal
of the loans under that certain Super Senior Secured Credit Agreement, dated May 9, 2019 (as
amended, supplemented, amended and restated or otherwise modified from time to time), by and
among the Company, as borrower, certain of the Company’s subsidiaries, as guarantors, the
lenders from time to time party thereto (collectively, the “Super Senior Lenders”), and
Wilmington Trust, National Association, as administrative agent and collateral agent for the Super
Senior Lenders, which Debtor-in-Possession Financing is to be evidenced, subject to approval by
the Bankruptcy Court, by that certain Superpriority Secured Debtor-in-Possession Credit and
Guaranty Agreement (together with the Exhibits and Schedules annexed thereto, the “DIP Credit
Agreement”), to be entered into by and among the Company, as borrower, certain subsidiaries of
the Company, as guarantors, the lenders from time to time party thereto (collectively, the “DIP
Lenders”), and Wilmington Trust, National Association, as administrative agent and collateral
agent for the DIP Lenders (in such capacities, including any successor thereto, the “DIP Agent”),
and which Debtor-in-Possession Financing is necessary and appropriate to the conduct, promotion
and attainment of the business of the Company and its subsidiaries; and be it further

                RESOLVED, that the form, terms, and provisions of (i) the DIP Credit Agreement,
including the use of proceeds to provide liquidity for the Companies throughout the Chapter 11
Cases, substantially in the form presented to the Committee and (ii) any and all of the other
agreements, including, without limitation, pledge agreement, security agreement, negative pledge
agreement, certificates, documents and instruments authorized, executed, delivered, reaffirmed,
verified and/or filed in connection with the Debtor-in-Possession Financing (together with the DIP
Credit Agreement, collectively, the “DIP Financing Documents”), and the Company’s
performance of its obligations thereunder, including the borrowings, the grant of a security interest
and guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and
approved; and be it further

                 RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company to cause the Company to negotiate and approve
the terms, provisions of and performance of, and to prepare, execute and deliver the DIP Credit



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Agreement and any other DIP Financing Documents, in the name and on behalf of the Company
under its corporate seal or otherwise, and such other documents, agreements, instruments and
certificates as may be required by the DIP Agents or required by the DIP Credit Agreements and
any other DIP Financing Documents; and be it further

               RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute and deliver any waivers,
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Credit Agreement and any other the DIP Financing Documents, in each
case consistent with the terms and conditions thereof, which shall, in such Authorized Officer’s
sole judgment, be necessary, proper or advisable; and be it further

  III.      Retention of Advisors

                 RESOLVED, that in connection with the Chapter 11 Cases, any Authorized
Officer, in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to employ and
retain all assistance by legal counsel, accountants, financial advisors, investment bankers and other
professionals, on behalf of the Company, which such Authorized Officer deems necessary,
appropriate or advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a view
to the successful prosecution of the Chapter 11 Cases (such acts to be conclusive evidence that
such Authorized Officer deemed the same to meet such standard); and be it further

               RESOLVED, that the firm of PJT Partners LP, located at 280 Park Avenue, New
York, NY 10017, is hereby retained as investment banker for the Company in the Chapter 11
Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as counsel for the Company in the Chapter
11 Cases, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the firm of FTI Consulting, Inc., located at Three Times Square,
9th Floor, New York, NY 10036, is hereby retained as financial advisor for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the firm of Prime Clerk LLC, located at 830 3rd Avenue, 9th
Floor, New York, NY 10022, is hereby retained as claims, noticing, and solicitation agent and
administrative advisor for the Company in the Chapter 11 Cases, subject to Bankruptcy Court
approval; and be it further

              RESOLVED, that the firm of PricewaterhouseCoopers LLP, located at 1075
Peachtree Street, Suite 2600, Atlanta, GA 30309, is hereby retained as tax consultants for the
Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of Kelley Drye & Warren LLP, located at 101 Park
Avenue, New York, New York 10178, is hereby retained as special tax, regulatory, litigation and
corporate counsel to the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval;
and be it further


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  IV.       Approval of Actions of Subsidiaries

                RESOLVED, that in the judgment of the Committee, it is desirable and in the best
interests of certain of the Company’s direct and indirect subsidiaries for each such entities to take
any and all action, including related to the DIP Financing Documents, Debtor-in-Possession
Financing and filing in the Bankruptcy Court, and to execute and deliver all documents,
agreements, motions and pleadings as are necessary, proper, or desirable to enable such subsidiary
take any and all actions necessary to carry out the DIP Financing Documents, Debtor-in-
Possession Financing, and file petitions under the Bankruptcy Code in the Bankruptcy Court,
including granting any director, officer, or other authorized representative as applicable according
to local law, the authority to take action in support thereof; and be it further

   V.       General

                 RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
deliver, certify, file and/or record, perform and approve any necessary public disclosures and
filings related to, such documents, agreements, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities and certificates as may be
required in connection with the RSA, Chapter 11 Cases, DIP Financing Documents and Debtor-
in-Possession Financing, and to take such other actions that in the judgment of the Authorized
Officer shall be or become necessary, proper or desirable in connection therewith; and be it further

                RESOLVED, that any actions taken by any Authorized Officer, for or on behalf of
the Company, prior to the date hereof that would have been authorized by these resolutions but for
the fact that such actions were taken prior to the date hereof be, and they hereby are, authorized,
adopted, approved, confirmed and ratified in all respects as the actions and deeds of the Company.




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    ill in this information to identify the case:

    Debtor name: Fusion Connect, Inc.
    United States Bankruptcy Court for the Southern District of New York
                                                  (State)
    Case number (If known):                                                                                                                       ☐ Check if this is an
                                                                                                                                                  amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                 12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.
Name of creditor and complete mailing       Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                 address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                         example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                           debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                              loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                            contracts)
                                                                                                                              Total claim, if       Deduction       Unsecured claim
                                                                                                                                partially          for value of
                                                                                                                                secured            collateral or
                                                                                                                                                      setoff
1       AT&T Corporation                    Attn.: April Mullins
        Attn.: April Mullins                Phone: (414) 274‐7110
        722 N Broadway, 9th Floor           Email: am1986@att.com                            Telco                                                                   $24,742,775.00
        Milwaukee, Wisconsin 53202

2       Abante Rooter and Plumbing et al.   Attn.: Matthew P. McCue
        c/o Broderick & Paronich, P.C.      Phone: (617) 738‐7080
        Attn.: Matthew P. McCue             Email: mmccue@massattorneys.net                Settlement                                                                $5,000,000.00
        99 High Street, Suite 304
        Boston, Massachusetts 02110
3       Verizon Communications              Attn.: Curtis Baker
        Attn.: Curtis Baker                 Phone: (918) 590‐9027
        6929 North Lakewood Avenue          Email: Curtis.Baker@verizon.com                  Telco                                                                   $4,163,922.00
        Tulsa, Oklahoma 74117

4       ZAYO Group LLC                      Attn.: Chad Lehman
        Attn.: Chad Lehman                  Phone: (412) 841‐2539
        414 West 14th Street, 2nd Floor     Email: chad.lehman@zayo.com                      Telco                                                                   $3,090,335.00
        New York, New York 10014

5       XO Communications                   Attn.: Curtis Baker
        Attn.: Curtis Baker                 Phone: (918) 590‐9027
        6929 North Lakewood Avenue          Email: Curtis.Baker@verizon.com                  Telco                                                                   $2,375,266.00
        Tulsa, Oklahoma 74117

6       Federal Communications              Attn.: Lisa Williford
        Commission                          Phone: (202) 418‐0930
        Attn.: Lisa Williford               Email: Lisa.Williford@fcc.gov
                                                                                           Settlement                                                                $2,310,000.00
        445 12 Street SW, Room 4C‐224
        Washington, District of Columbia
        20554
7       Global Capacity Group, Inc.         Attn.: Shane McDonald
        Attn.: Shane McDonald               Phone: +44 115 896 1799
        265 Winter Street                   Email: Shane.Mcdonald@gtt.net                    Telco                                                                   $1,606,001.00
        Waltham, Massachusetts 02451

8       Frontier Communications             Attn.: Lynne Hladik
        Corporation                         Phone: (919) 941‐6520
        Attn.: Lynne Hladik                 Email: lynne.hladik@ftr.com                      Telco                                                                   $1,436,315.00
        401 Merritt 7
        Norwalk, Connecticut 06851



    Official Form 204                                List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                         Page 1



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    Debtor     Fusion Connect, Inc.                                                                         Case number (if known)
               Name


Name of creditor and complete mailing          Name, telephone number, and email             Nature of the         Indicate if   Amount of unsecured claim
address, including zip code                    address of creditor contact                     claim (for           claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                            example, trade        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                              debts, bank        unliquidated,   claim amount and deduction for value of collateral
                                                                                                 loans,           or disputed    or setoff to calculate unsecured claim.
                                                                                             professional
                                                                                             services, and
                                                                                             government
                                                                                               contracts)
                                                                                                                                     Total claim, if    Deduction       Unsecured claim
                                                                                                                                       partially       for value of
                                                                                                                                       secured         collateral or
                                                                                                                                                          setoff
9       Broadsoft, Inc.                        Attn.: Dave Mulhern
        Attn.: Dave Mulhern                    Phone: (240) 364‐5342
        9737 Washingtonian Blvd., Suite 350    Email: dmulhern@cisco.com                        Trade                                                                    $1,374,120.00
        Gaithersburg, Maryland 20878

10      CenturyLink, Inc.                      Attn.: Barry Horne
        Attn.: Barry Horne                     Phone: (801) 238‐0453
        100 CenturyLink Dr.                    Email: Barry.Horne@CenturyLink.com               Telco                                                                    $1,051,126.00
        Monroe, Louisiana 71203

11      Level 3 Communications                 Attn.: Barry Horne
        Attn.: Barry Horne                     Phone: (801) 238‐0453
        100 CenturyLink Drive                  Email: Barry.Horne@CenturyLink.com               Telco                                                                     $834,568.00
        Monroe, Louisiana 71203

12      Greenberg Traurig, LLP                 Attn.: Dennis J. Block
        Attn.: Dennis J. Block                 Phone: (212) 801‐2222
                                                                                             Professional
        MetLife Building                       Email: blockd@gtlaw.com                                                                                                    $802,579.00
                                                                                               Services
        200 Park Avenue
        New York, New York 10166
13      Windstream Communications              Attn.: Laura Landry
        Attn.: Laura Landry                    Phone: (501) 748‐3574
        4001 Rodney Parham Road                Email: laura.landry@windstream.com               Telco                                                                     $768,763.00
        Little Rock, Arkansas 72212

14      Time Warner Cable                      Attn.: Janice Caldwell
        Attn.: Janice Caldwell                 Phone: (704) 945‐8312
        7815 Crescent Executive Drive          Email: janice.caldwell@charter.com               Telco                                                                     $587,649.00
        Suite 200
        Charlotte, North Carolina 28217
15      Jones Day                              Attn.: William B. Rowland
        Attn.: William B. Rowland              Phone: (404) 521‐3939                         Professional
        1420 Peachtree Street, Suite 800       Email: troach@JonesDay.com                                                                                                 $556,231.00
                                                                                               Services
        Atlanta, Georgia 30309

16      Universal Service Administrative Co.   Attn.: Chang‐Hua Chen
        Attn.: Chang‐Hua Chen                  Phone: (202) 772‐5221
        Customer Operations/Gen. Inquires      Email: cchen@usac.org                          Regulatory
                                                                                                                                                                          $531,389.00
        700 12th Street NW, Suite 900                                                          Agency
        Washington, District of Columbia
        20005
17      Infinit Technology Solutions           Attn.: Tom Cusumano
        Attn.: Tom Cusumano                    Phone: (877) 825‐8340 Ext. 4223
        7037 Fly Road                          Email: cusumanot@infinit‐tech.com                Trade                                                                     $496,922.00
        East Syracuse, New York 13057

18      SoftwareONE Inc.                       Attn.: Katrina Strong
        Attn.: Katrina Strong                  Phone: (262) 439‐7819
        20875 Crossroads Circle, Suite 1       Email: katrina.strong@softwareone.com            Trade                                                                     $484,649.00
        Waukesha, Wisconsin 53186

19      Symantec Corporation                   Attn.: Mayur Doshi
        Attn.: Mayur Doshi                     Phone: (541) 335‐7443
        350 Ellis Street                       Email: mayur_doshi@symantec.com                  Telco                                                                     $426,959.00
        Mountain View, California 94043

20      Dell, Inc.                             Attn.: David Halley Jr.
        Attn.: David Halley Jr.                Phone: (512) 728‐6298
        1 Dell Way                             Email: david_halley@dell.com                     Trade                                                                     $401,275.00
        Round Rock, Texas 78682


    Official Form 204                                   List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                          Page 2

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 Debtor     Fusion Connect, Inc.                                                                   Case number (if known)
            Name


Name of creditor and complete mailing   Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code             address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                     example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                       debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                          loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                      government
                                                                                        contracts)
                                                                                                                            Total claim, if     Deduction       Unsecured claim
                                                                                                                              partially        for value of
                                                                                                                              secured          collateral or
                                                                                                                                                  setoff
21   Salesforce.com Inc.                Attn.: Aman Alagh
     Attn.: Aman Alagh                  Phone: (347) 735‐0551
     415 Mission Street, 3rd Floor      Email: aalagh@salesforce.com                     Trade                                                                    $393,803.00
     San Francisco, California 94105

22   Equinix Inc.                       Attn.: James Westbrook
     Attn.: James Westbrook             Phone: (214) 743‐8933
     1950 N Stemmons Freeway            Email: jwestbrook@equinix.com                    Telco                                                                    $366,070.00
     Dallas, Texas 75207

23   GTT Communications, Inc.           Attn.: Shane McDonald
     Attn.: Shane McDonald              Phone: +44 115 896 1799
     3379 Peachtree Rd NE, #925         Email: Shane.Mcdonald@gtt.net                    Telco                                                                    $356,505.00
     Atlanta, Georgia 30326

24   Microsoft Corporation              Attn.: Lucky Lidhar
     Attn.: Lucky Lidhar                Phone: (770) 862‐9015
     8000 Avalon Boulevard, Suite 800   Email: Lucky.Lidhar@microsoft.com                Trade                                                                    $344,148.00
     Alpharetta, Georgia 30009

25   Metaswitch Networks Ltd.           Attn.: Patrick Hally
     Attn.: Patrick Hally               Phone: (703) 480‐0509
     399 Main Street                    Email: Patrick.Hally@megaswitch.com              Trade                                                                    $304,803.00
     Los Altos, California 94022

26   Persistent Systems Inc.            Attn.: Shekhar V. Patankar
     Attn.: Shekhar V. Patankar         Phone: 91‐712‐6761583
     2055 Laurelwood Road, Suite210     Email: shekhar_patankar@persistent.com           Trade                                                                    $280,690.00
     Santa Clara, California 95054

27   Comcast Corporation                Attn.: Samuel Scott
     Attn.: Samuel Scott                Phone: (855) 871‐4366
     Comcast Center                     Email: Samuel_Scott2@comcast.com                 Telco                                                                    $269,383.00
     1701 JFK Blvd.
     Philadelphia, Pennsylvania 19103
28   TelePacific                        Attn.: Gina Alarid
     Attn.: Gina Alarid                 Phone: (303) 268‐5422
     515 S Flower Street, 4th Floor     Email: galarid@tpx.com                           Telco                                                                    $258,549.00
     Los Angeles, California 90071

29   Veristor Systems, Inc.             Attn.: Laurie Montemurro
     Attn.: Laurie Montemurro           Phone: (678) 990‐1593
     4850 River Green Parkway           Email: montemurro@veristor.com                   Trade                                                                    $249,985.00
     Duluth, Georgia 30096

30   ScanSource Communications Inc.     Attn.: Seth Drugatz
     Attn.: Seth Drugatz                Phone: (864) 286‐4736
     250 Scientific Drive NW            Email: seth.drugatz@scansource.com               Trade                                                                    $244,336.00
     Norcross, Georgia 30092

31   Inseego North America LLC          Attn.: Heidi Siebenlist
     Attn.: Heidi Siebenlist            Phone: (858) 812‐3425
     180 West 8th Avenue, Suite 300     Email: heidi.siebenlist@inseego.com              Trade                                                                    $243,023.00
     Eugene, Oregon 97401

32   Park Place Technologies LLC        Attn.: Evan Gormley
     Attn.: Evan Gormley                Phone: (440) 683‐9457
     5910 Landerbrook Drive             Email: egormley@parkplacetech.com                Trade                                                                    $240,999.00
     Cleveland, Ohio 44124




 Official Form 204                               List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                         Page 3

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 Debtor     Fusion Connect, Inc.                                                                   Case number (if known)
            Name


Name of creditor and complete mailing   Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code             address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                     example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                       debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                          loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                      government
                                                                                        contracts)
                                                                                                                            Total claim, if     Deduction       Unsecured claim
                                                                                                                              partially        for value of
                                                                                                                              secured          collateral or
                                                                                                                                                  setoff
33   CounterPath Corporation            Attn.: Todd Carothers
     Attn.: Todd Carothers              Phone: (312) 873‐6102
     Suite 300, One Bentall Center      Email: tcarothers@counterpath.com
                                                                                         Trade                                                                    $222,832.00
     505 Burrard Street, Box 95
     Vancouver, British Columbia
     V7X 1M3 Canada
34   Safari Micro Inc.                  Attn.: Todd Erickson
     Attn.: Todd Erickson               Phone: (888) 446‐4770 Ext. 1028
     2185 W Pecos Road, #9              Email: todd@safarimicro.com                      Trade                                                                    $220,758.00
     Chandler, Arizona 85224

35   NETXUSA Inc.                       Attn.: Crystal Adamson
     Attn.: Crystal Adamson             Phone: (864) 271‐9868
     231 Beverly Road                   Email:                                           Trade                                                                    $214,009.00
     Greenville, South Carolina 29609   crystal.adamson@ingrammicro.com

36   Quest Technology Management        Attn.: Justin Trammell
     Attn.: Justin Trammell             Phone: (925) 286‐3467
     5 Polaris Way                      Email: Justin_Trammell@questsys.com              Trade                                                                    $213,861.00
     Aliso Viejo, California 92656

37   Object Frontier Inc.               Attn.: Sunil Thatta
     Attn.: Sunil Thatta                Phone: (770) 685‐3400
     3025 Windward Plaza, Suite 525     Email: sunil.thatta@objectfrontier.com           Trade                                                                    $208,200.00
     Alpharetta, Georgia 30005

38   FPL Fibernet LLC                   Attn.: Thomas Barents
     Attn.: Thomas Barents              Phone: (508) 621‐1913
     80 Central Street                  Email: Thomas.Barents@crowncastle.com            Telco                                                                    $203,684.00
     Boxborough, Massachusetts 01719

39   Empirix Inc.                       Attn.: Allen K. Anderson
     Attn.: Allen K. Anderson           Phone: (704) 620‐2120
     3355 Lenox Road NE                 Email: aanderson@empirix.com                     Trade                                                                    $192,673.00
     Atlanta, Georgia 30326

40   Sonian, Inc.                       Attn.: Sarah Federici
     Attn.: Sarah Federici              Phone: (408) 342‐5506
     3175 S. Winchester Boulevard       Email sfederici@barracuda.com                    Telco                                                                    $191,206.00
     Campbell, California 95008




 Official Form 204                               List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                         Page 4

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 Fill in this information to identify the case:

 Debtor name: Fusion Connect, Inc.
 United States Bankruptcy Court for the Southern District of New York
                                              (State)
 Case number (If known):




Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
   ☐        Other document that requires a declaration _____________

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on June 3, 2019
                                                       /s/ Keith Soldan
                                                        Signature of individual signing on behalf of debtor
                     MM / DD /YYYY
                                                        Keith Soldan
                                                        Printed name

                                                        Chief Financial Officer and Principal Accounting Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :   Chapter 11
                                                               :
FUSION CONNECT, INC., et al.,                                  :   Case No. 19-[_____] (___)
                                                               :
                           Debtors.                            :   (Joint Administration Pending)
                                                               :
---------------------------------------------------------------X

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                    Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1,

attached hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in

Fusion Connect, Inc. (“Fusion Parent”) and its above-captioned debtor affiliates (the “Non-

Parent Debtors”), as proposed debtors and debtors in possession (collectively, the “Debtors”).

The Debtors respectfully represent as follows:

                    1.        Each Debtor identified on Exhibit A is 100% owned by its direct parent

unless otherwise noted.

                    2.        Fusion Parent is the ultimate parent company of each of the Non-Parent

Debtors, and directly or indirectly owns 100% equity interests in each of the Non-Parent

Debtors.

                    3.        Fusion Parent’s equity securities are publicly held. BCHI Holdings, LLC

owns approximately 60.7% of the common stock in Fusion Parent. Holcombe T. Green, Jr. owns

all of the outstanding (15,000) shares of Series D Preferred stock, which do not have voting

power. To the best of the Debtors’ knowledge and belief, no other person or entity directly owns

10% or more of Fusion Connect, Inc.’s common or preferred stock.




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                                             Exhibit A

                                        Organizational Chart




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          19-11811-dsj           Doc 1       Filed 06/03/19 Entered 06/03/19 06:57:52                           Main Document
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 Fill in this information to identify the case:

 Debtor name: Fusion Connect, Inc.
 United States Bankruptcy Court for the Southern District of New York
                                              (State)
 Case number (If known):




Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
   ☐        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on June 3, 2019
                                                       /s/ Keith Soldan
                                                        Signature of individual signing on behalf of debtor
                     MM / DD /YYYY
                                                        Keith Soldan
                                                        Printed name

                                                        Chief Financial Officer and Principal Accounting Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors

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